       Case 3:18-cv-01200-WHO Document 215 Filed 11/08/21 Page 1 of 1




                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         NOV 8 2021
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
KIMETRA BRICE; et al.,                         No.    19-15707

                Plaintiffs-Appellees,          D.C. No. 3:18-cv-01200-WHO
                                               Northern District of California,
 v.                                            San Francisco

PLAIN GREEN, LLC,                              ORDER

                Defendant,

and

HAYNES INVESTMENTS, LLC; L.
STEPHEN HAYNES,

                Defendants-Appellants.

Before: W. FLETCHER, FORREST, and VANDYKE, Circuit Judges.

      Defendants-Appellants are ordered to file a response to Plaintiffs-Appellees’

petition for panel rehearing and rehearing en banc (Dkt. No. 72). The response

shall not exceed 15 pages or 4,200 words and shall be filed within 21 days of this

order. Parties who are registered for Appellate ECF must file the response

electronically without submission of paper copies. Parties who are not registered

Appellate ECF filers must file the original response plus 50 paper copies.
